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16
     JACKLINE MUTHOKA

17
                    IN THE UNITED STATES DISTRICT COURT

18
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

19
      JACKLINE MUTHOKA,                            Case No: 8:23-CV-01333 FWS
20                                                 (JDEX) Assigned to Hon. Judge
      Plaintiff,                                   Fred W. Slaughter
21                                                 (Complaint filed on July 24, 2023)
      v.
22                                                 DECLARATION OF JAY T.
      THE REGENTS OF THE                           JAMBECK IN SUPPORT OF EX
23    UNIVERSITY                                   PARTE APPLICATION
      OF CALIFORNIA,
24
      Defendant.
25

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                                                 1
                                DECLARATION OF JAY. T. JAMBECK
                                   (Case No. 8:23-CV-0133 FWS)
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 1       I, Jay T. Jambeck, declare as follows:
 2
           1. I am counsel for Plaintiff in the above-referenced matter and am in good
 3
              standing with the California Bar with no record of discipline. I have
 4
              personal knowledge of the facts set forth herein and if called upon to do
 5
              so could testify as to their truth and accuracy.
 6
           2. On March 27, 2025, Plaintiff timely filed her opposition to Defendant’s
 7
              Motion for Summary Judgment. I had prepared a statement of disputed
 8
              facts to file at that time. I kept a list of nine documents that were to be
 9
              filed in opposition to the motion for summary judgment, of which the
10
              separate statement of disputed facts was one.
11
           3. Given the size of the large files to be uploaded, I had to split the evidence
12
              into four appendices (rather than the anticipated three) due to variances in
13
              the ECF system’s recognition of file size versus counsel’s Adobe
14
              Acrobat. Therefore, an additional appendix was required that was not
15
              initially anticipated.
16
           4. As a result of the addition of the final appendix, when I submitted the
17
              filing, the separate statement of disputed facts was overlooked because of
18
              the addition of the extra appendix. I checked the list of documents to be
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              filed and erroneously marked the statement of disputed facts as being
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              filed from the list due to the addition of the extra appendix. Having
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              checked off nine documents, I believed that I had filed all the documents.
22
              However, with the addition of the fourth appendix, the total documents to
23
              be filed became 10. Amidst the frustration encountered with getting the
24
              files into sizes manageable by ECF, which included compressing certain
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                                DECLARATION OF JAY. T. JAMBECK
                                   (Case No. 8:23-CV-0133 FWS)
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 1            files and encountering significant variance with that process, I
 2            inadvertently checked off the statement of disputed facts as being filed.
 3         5. The timing of Plaintiff’s filings reflect the above: I filed a first set of
 4            filings for the opposition between 6:50 and 6:59 pm. [DEs 58-61]
 5            Plaintiff and I then worked on finalizing minor parts of her declaration
 6            which needed to be referenced in the separate statement. After
 7            completing that, I finalized the appendices and realized that an additional
 8            appendix would be necessary. I then filed Plaintiff’s declaration along
 9            with the Appendices that it referred to from 8:05 to 8:21 pm. [DEs 62-66]
10            After completing those associated filings, my checklist reflected that nine
11            documents had been filed.
12         6. I clearly intended to file the statement of disputed facts at the time, as it is
13            referenced in Plaintiff’s opposition to the motion for summary judgment.
14            Further, it is located on our firm’s server and was saved to .pdf at 6:47
15            pm on March 27, 2025, the date the opposition and statement were due.
16            A true and correct copy of a screenshot of the folder with the filename
17            entitled “2025.3.27 Statement of Facts” showing the date and time of its
18            creation is attached hereto as Exhibit A. The appendixes listed on the
19            screenshot are the appendix cover pages not the voluminous exhibits that
20            created the issue of multiple appendices.
21         7. In delivering the courtesy copy to the Court, I simply uploaded all filed
22            documents to OneLegal and did not catch that the separate statement of
23            disputed facts was not included.
24         8. Plaintiff files this as an ex parte application due to the pending motion
25            for summary judgment due to be heard on April 24, 2025.
26
                                                 3
                                DECLARATION OF JAY. T. JAMBECK
                                   (Case No. 8:23-CV-0133 FWS)
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 1         9. A true and correct copy of the statement of separate facts is attached
 2            hereto as Exhibit B. I have not altered the statement from the file that
 3            was created on March 27, 2025 at 6:47 pm in any way.
 4         10. I only discovered that the separate statement had not been filed once
 5            Defendant filed a document on April 3, 2025 indicating no separate
 6            statement had been filed by Plaintiff.
 7       11. On April 3, 2025, at 3:58 PM, I emailed counsel for the Defendant to meet
 8          and confer regarding the inadvertent failure to file the separate statement of
 9          disputed facts. I followed up with a telephone call at 4:07 pm and left a
10          message with the receptionist for Defendant’s counsel to call me. At 6:22
11          pm on April 3, 2025, I received a reply from counsel for Defendant who
12          would not agree to a late filing of the Plaintiff’s separate statement of
13          disputed facts.
14

15         I declare under penalty of perjury under the laws of the United States of
16   America that the foregoing is true and correct.
17
     Date: April 3, 2025
18
                                                   /s/ Jay T. Jambeck
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                                                   Jay T. Jambeck
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                                DECLARATION OF JAY. T. JAMBECK
                                   (Case No. 8:23-CV-0133 FWS)
